 1                        UNITED STATES BANKRUPTCY COURT
                                        of the
 2                         NORTHERN DISTRICT OF CALIFORNIA
     In Re                                   Chapter 13 Case Number:
 3
                  Eric Robert Green          13-41687-CN 13
 4                Kathryn Kaye Green
                                             Notice of Plan Completion and
                                             Request for Discharge by Trustee
 5
                                        Debtors(s)
 6
   1. The Debtor, Eric Robert Green And Kathryn Kaye Green, is entitled to a discharge in
 7 that the confirmed Chapter 13 plan in this case has been completed and all plan payments
   to be made to the Trustee and/or otherwise provided for under the plan have been made.
 8
     2. The Debtor has filed a Debtor's Certification in Support of Discharge which was served
 9
     on all creditors and other interested parites requesting specific notice stating:
10
        a. The Certification of Completion of Instructional Course Concerning Financial
11   Management has been filed or the course was not completed pursuant to 11
     U.S.C.§1328(g)(2) or court order.
12
         b. All domestic support obligations, as that term is defined in 11 U.S.C. §101(14A),
13   that have become due under any order of a court or administrative agency or under any
     statute have been paid or the debtor did not have any domestic support obligations during
14   the pendency of the case.
15
         c. No exemptions in excess of the adjusted amount set forth in 11 U.S.C. §522(q)(1)
16   were claimed or exemptions in excess of the adjusted amount were claimed and all
     creditors and other interested parties requesting special notice were served with a
17   statement by the debtor as to whether there is pending a proceeding in which the debtor
     may be found guilty of a felony of a kind described in §522(q)(1)(A) or found liable for a
18
     debt of the kind described in §522(q)(1)(B).
19

20       d. All creditors and other interested parties requesting special notice were served with
     a statement by the debtor as to whether there is pending a proceeding in which the debtor
21   may be found guilty of a felony of a kind described in §522(q)(1)(A) or found liable for a
     debt of the kind described in §522(q)(1)(B).
22

23   THEREFORE, the Trustee requests that the Court enter a discharge order pursuant to 11
     U.S.C.§1328.
24
     Dated: April 27, 2018                                 /s/ Martha G. Bronitsky
25
                                                           Martha G. Bronitsky
26                                                         Chapter 13 Standing Trustee

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